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                                                                                           fN OPEN COURT


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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                                                                                    CLERK, U.S. Dir
                                                                                       ALEXAI\lDRi/> ,
                             EASTERN DISTRICT OF VIRGINIA

                                  ALEXANDRIA DIVISION


 UNITED STATES OF AMERICA


                                                     Case No. l:21-cr-77-CMH


 ANDREW ALEXANDER TEZNA
        a/k/a N.ANDREW TEZNA
        a/k/a NESTOR ANDRES TEZNA


        Defendant.



                                   STATEMENT OF FACTS


       The United States and the defendant, ANDREW ALEXANDER TEZNA (hereinafter

referred to as the "TEZNA"),agree that had this matter proceeded to trial, the United States

would have proven the following facts beyond a reasonable doubt with admissible and credible

evidence:


I.     Factual Background

       1.      TEZNA resided in Leesburg, Virginia, within the Eastern District of Virginia.

From January 2015 to the present, TEZNA worked as a full-time employee ofthe National

Aeronautics and Space Administration("NASA")who makes approximately $170,801 per year.

Since June 2020, he has been a Senior Executive Service("SES")employee.

       2.      TEZNA also resides with his wife, T.T., who was also a full-time government

employee, and with his mother-in law, B.I. As TEZNA knew, B.I. has not had full-time

employment since at least 2016.

       3.      C.M. was a friend of T.T., who TEZNA hired at NASA,on or about September

2019, and was thereafter a NASA employee who reported at first directly and later indirectly to

TEZNA.
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       4.      Sonabank and Celtic Bank each were banks with deposits insured by the Federal

Deposit Insurance Corporation ("FDIC"). Sonabank and Celtic Bank each therefore constituted

a "financial institution" for purposes of 18 U.S.C. §§ 20, 1344, and 1957. Additionally,

Sonabank was a Virginia chartered bank headquartered in Tappahannock, Virginia within the

Eastern District of Virginia.

                                The Paycheck Protection Program


       5.      The Coronavirus Aid, Relief, and Economic Security("CARES")Act was a

federal law enacted in or around March 2020 and was designed to provide emergency financial

assistance to the millions of Americans who are suffering the economic effects caused by the

COVID-19 pandemic. One source of relief provided by the CARES Act was the authorization of

billions in forgivable loans to small businesses forjob retention and certain other expenses,

through a program referred to as the Paycheck Protection Program ("PPP").

       6.      In order to obtain a PPP loan, a qualifying business had to submit a PPP loan

application signed by an authorized representative ofthe business. The applicant ofa PPP loan

was required to acknowledge the program rules and make certain affirmative certifications in

order to be eligible to obtain the PPP loan. In the PPP loan application, the applicant had to

state, among other things, the:(a)average monthly payroll expenses and (b)number of

employees. In addition, businesses applying for a PPP loan had to provide documentation

showing their payroll expenses.

       7.      A PPP loan application had to be processed by a participating financial institution

(the lender). If the PPP loan application was approved,the lender funded the PPP loan using its

own monies, which were 100% guaranteed by the Small Business Administration ("SBA").

Data from the application, including information about the borrower, the total amount ofthe
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loan, and the listed number ofemployees, was transmitted by the lender to the SBA in the course

of processing the loan.

          1.   PPP loan proceeds could only be used by the business for certain permissible

expenses—^payroll costs, interest on mortgages, rent, and utilities. The proceeds of a PPP loan

were not permitted to be used towards the purchase of a personal automobile, a dog, to pay

personal credit card debt, to pay debt related to a residential pool, to pay costs associated with a

Disney Vacation Club membership, or to fund the borrower's ordinary day-to-day living

expenses unrelated to the specified authorized expenses.

                           The Economic Injury Disaster Loan Program

          8.   The Economic Injury Disaster Loan ("EIDL")program was a SBA program that

provided low-interest financing to small businesses, renters, and homeowners in regions affected

by declared disasters. The CARES Act also authorized the SBA to provide EIDLs to eligible

small businesses that experienced substantial financial disruptions due to the COVID-19

pandemic. In addition, the CARES Act authorized the SBA to issue advances of up to $10,000

to small businesses within three days of applying for an EIDL. The advances do not have to be

repaid.

          9.   In order to obtain an EIDL and advance, a qualifying business had to submit an

application to the SBA and provide information about its operations, such as the number of

employees, gross revenue for the 12-month period preceding the disaster, and cost ofgoods sold

in the 12-month period preceding the disaster. In the case of EIDLs for COVID-19 relief, the

12-month period was the timeframe preceding January 31, 2020. The applicant had to also

certify that all ofthe information in the application was true and correct to the best ofthe

applicant's knowledge. Any funds issued under an EIDL or EIDL advance were issued directly
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by the SBA. EIDL funds could be used for payroll expenses, sick leave, production costs, and

business obligations, such as debts, rent, and mortgage payments. If the applicant also obtained

a PPP loan, the EIDL funds could not be used for the same purpose as the PPP funds.

                                      Unemployment Benefits

       10.      Unemployment Insurance("UI") was a joint state-federal program that was

intended to provide temporary financial assistance to unemployed workers who were

unemployed through no fault of their own. Each state administered a separate UI program, but

all states followed the same guidelines established by federal law.

       11.      The Virginia Employment Commission("VEC") was responsible for

administering the unemployment compensation program in the Commonwealth of Virginia.

Eligible recipients received a minimum of$158 per week in traditional UI benefits.

       12.      As part ofthe CARES Act and the Lost Wage Assistance Program ("LWA"),

which included unemployment assistance that took affect after the CARES Act supplements

expired,there were additions to the traditional UI benefits. Specifically, the VEC had the

following UI components as a result ofthe CARES Act and LWA:

             a. Federal Pandemic Unemployment Compensation Program ("FPUC")-the

                CARES Act increased benefits for workers collecting UI by $600 per week for

                claims effective March 29th through July 31st, 2020, increasing the weekly

                benefit to $758 per week.

             b. Pandemic Unemployment Assistance("PUA")-PUA provided unemployment

                benefits for individuals who did not qualify for traditional UI benefits.
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              c. Pandemic Emergency Unemployment Compensation("PEUC")-the CARES Act

                 included a provision for up to 13 weeks of regular/traditional unemployment

                 insurance benefits to those who have exhausted their eligibility.

              d. Lost Wages Assistance("LWA")-took affect after July 31,2020 and provided

                 an additional $300 per week to claimants in Virginia who are eligible for at least

                 $100 week in unemployment insurance compensation.

        13.      Unemployed workers in the Commonwealth of Virginia filed for UI benefits

either by phone or through the VEC on-line portal. To be eligible for UI benefits, the claimants

had to have been separated from their employer or had their hours reduced by their employer.

Once the VEC approved the UI claim, claimants had to re-certify their unemployment status on a

weekly basis. The claimant had to certify that they were ready, willing, and able to work each

day during the weeks they claimed UI.

        14.      Applicants were only eligible to receive weekly PUA benefits if they were

unemployed for reasons related to the COVID-19 pandemic. The applicant had to certify, under

penalty of perjury, that they were able to go to work each day and, if offered ajob, the applicant

had to be able to accept it.

II.     Criminal Conduct


        A.       PPP Loan Fraud


        15.      From at least in or around May 2020 and continuing through at least in or around

December 2020, in the Eastern District of Virginia and elsewhere, defendant ANDREW

ALEXANDER TEZNA,did knowingly devise and intend to devise a scheme and artifice to

obtain the moneys,funds, credits, assets, and other property owned by, and under the custody
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and control of, a financial institution, namely,Sonabank and Celtic Bank, by means of materially

false and fraudulent pretenses, representations, and promises.

       16.      As explained in greater detail below,TEZNA engaged in and executed a scheme

to fraudulently to obtain moneys,funds, credits, assets, and other property owned by, and under

the custody and control of, Sonabank and Celtic Bank, namely,PPP loan proceeds, and to spend

those proceeds on items that were not authorized under the PPP. In furtherance ofthe scheme to

defraud, and to accomplish its unlawful objects, the following manner and means were used,

among others:

                          The Andalasia Designs PPP Loan ApDlication


       17.      On or about May 18,2020,TEZNA submitted and caused to be submitted a

fraudulent loan application to Sonabank on behalf of Andalasia Designs. TEZNA listed T.T.'s

social security number on the application and signed and certified the application as T.T. With

the application TEZNA submitted a copy of T.T.'s Virginia driver's license. In this application,

TEZNA knowingly made and caused to be made numerous materially false and fraudulent

representations to Sonabank. Among other things, TEZNA submitted and caused to be

submitted a PPP loan application, on behalf of Andalasia Designs, in which he made all ofthe

following materially false and fraudulent representations:

             a. TEZNA falsely claimed that Andalasia Designs had three employees with average

                monthly payroll expenses of at least $34,700. TEZNA knew that this was false,

                and that in truth and fact, Andalasia Designs had at most one employee, T.T., and

                Andalasia Designs had no regular monthly payroll expenses.

             b. TEZNA falsely certified that "[a]ll SBA loan proceeds will be used only for

                business-related purposes as specified in the loan application and consistent with
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                the Paycheck Protection Program Rule." TEZNA knew that this was false, and

                that he intended to use the PPP loan proceeds for unauthorized purposes,

                including paying off personally incurred debt and to pay for day-to-day living

                expenses.


             c. TEZNA falsely certified that "the funds will be used to retain workers and

                maintain payroll or make mortgage payments, lease payments, and utility

                payments; as specified under the Paycheck Protection Program Rule." TEZNA

                knew that this was false as he intended to use the PPP loan proceeds for

                unauthorized purposes.

             d. TEZNA falsely attested and certified that "the information provided in [the]

                application and the information provided in all supporting documents and forms is

                true and accurate in all material respects," TEZNA knew that this was false as he

                had made numerous false statements in the PPP loan application, supporting

                documentation, and forms.

       18.      As a part ofthe fraudulent loan application on behalf of Andalasia Designs,

TEZNA also submitted and caused to be submitted to Sonabank wholly fabricated supporting

documentation including:

             a. A purported "Andalasia Designs Payroll Report" for the "Time Period:

                02/15/2020 - 05/18/2020." The document listed three employees, T.T., B.I., and

                C.M., and listed the employees' purported weekly pay as $19,200 per week and

                $67,200 for the full time period. The document was a fabrication; B.I. and C.M.

                were not employees of Andalasia Designs, and the company had not incurred the

                payroll expenses listed.
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             b. A purported 2019 Form 1040 Schedule C,Profit or Loss from Business

                ("Schedule C")which listed T.T. as the proprietor, listed T.T.'s social security

                number, and listed the business name of Andalasia Designs. This purported 2019

                Schedule C listed "Gross receipts" of$172,810 and "Total expenses" of$51,060.

                The document was a fabrication; the sole Schedule C attached to TEZNA's

                personal tax return. Form 1040, submitted to the Internal Revenue Service did not

                match the Schedule C submitted to Sonabank. The 1040 filed with the IRS

                reported only $5,067.00 in gross receipts. However, in truth, Andalasia Designs

                earned gross receipts totaling only $7,260 in 2019.

       19.      As a result ofthe misrepresentations on the Andalasia Designs PPP loan

application, on or about May 20,2020, Sonabank disbursed $25,400 in PPP loan proceeds to a

bank account that TEZNA had signature authority and managed.

       20.      TEZNA did not use the PPP loan proceeds for their intended purposes. Instead, it

was further part ofthe scheme that once TEZNA received the PPP loan proceeds, he knowingly

spent the proceeds on numerous items that he knew were not authorized under the PPP. Among

other things, TEZNA knowingly spent and caused to be spent the PPP loan proceeds for the

following unauthorized expenses:

             a. to pay $18,447.31 on an auto loan for a 2015 Toyota Sienna;

             b. to make a $5,727.28 payment on a personal Best Buy credit card

                                         The B.I. PPP Loan


       21.      On or about May 22,2020,TEZNA submitted and caused to be submitted a

fraudulent loan application to Celtic Bank on behalf ofthe business in the name of B.I. TEZNA

listed B.I.'s social security number on the application and signed the application as B.I. With the
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application, TEZNA submitted a copy of B.I.'s Virginia driver's license. In this application, •

TEZNA knowingly made and caused to be made numerous materially false and fraudulent

representations to Celtic Bank. Among other things, TEZNA submitted and caused to be

submitted a PPP loan application, on behalf ofthe business in the name of B.I., in which he made

all ofthe following materially false and fraudulent representations:

           a. TEZNA falsely claimed that the business in the name of B.I. was a sole

               proprietorship with average monthly payroll expenses of at least $29,567.50.

               TEZNA knew that this was false, and that in truth and fact, the business in the

               name of B.I. did not exist and, therefore, had no regular monthly payroll

               expenses.


           b. TEZNA falsely certified that "[a]ll SBA loan proceeds will be used only for

               business-related purposes as specified in the loan application and consistent with

               the Paycheck Protection Program Rule." TEZNA knew that this was false, as he

               intended to use the PPP loan proceeds for unauthorized purposes, including

               paying off personally incurred debt and to pay for day-to-day living expenses.

           c. TEZNA falsely certified that the business "was in operation on February 15, 2020

               and had employees for whom it paid salaries and payroll taxes or paid

               independent contractors, as reported on Form(s) 1099-MISC." TEZNA knew that

               this was false, and that in truth and fact, the business in the name of B.I. did not

               exist and did not have employees for which it paid salaries and payroll taxes.

           d. TEZNA falsely certified that "the funds will be used to retain workers and

               maintain payroll or make mortgage payments, lease payments, and utility

               payments; as specified under the Paycheck Protection Program Rule." TEZNA
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                knew that this was false as he intended to use the PPP loan proceeds for

                unauthorized purposes,

             e. TEZNA falsely attested and certified that "the information provided in [the]

                application and the information provided in all supporting documents and forms is

                true and accurate in all material respects." TEZNA knew that this was false as he

                had made numerous false statements in the PPP loan application, supporting

                documentation, and forms.

       22.      As a part ofthe fraudulent loan application on behalf of the business in the name

of B.I., TEZNA submitted and caused to be submitted to Celtic Bank a purported 2019 Form

1040 Schedule C,Profit or Loss from Business("Schedule C")which listed B.I. as the proprietor

and listed B.I.'s social security number. No business name was listed on the form. This

purported 2019 Schedule C listed "Gross receipts" of$354,810 and "Total expenses" of$5,816.

The document was a fabrication: the Internal Revenue Service has no record ofa 2019 Form

1040 Schedule C,Profit or Loss from Business("Schedule C")filed for B.I.

       23.      As a result ofthe misrepresentations on the B.I. PPP loan application, on or about

May 26,2020, Celtic Bank disbursed $73,918 in PPP loan proceeds to a bank account that

TEZNA had signature authority and managed.

       24.      TEZNA did not use the PPP loan proceeds for their intended purposes. Instead, it

was further part ofthe scheme that once TEZNA received the PPP loan proceeds, he knowingly

spent the proceeds on numerous items that he knew were not authorized under the PPP. Among

other things, TEZNA knowingly spent and caused to be spent the PPP loan proceeds for the

following unauthorized expenses:

             a. to pay $48,961.81 on a loan for a residential swimming pool;



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             b. to pay off at least $19,700 of personal credit card debt.

                                    The Nestor Tezna PPP Loan


       25.      On or about May 29,2020, TEZNA submitted and caused to be submitted a

fraudulent loan application to Celtic Bank on behalf ofthe business in the name Nestor Tezna.

In this application, TEZNA knowingly made and caused to be made numerous materially false

and fraudulent representations to Celtic Bank. Among other things, TEZNA submitted and

caused to be submitted a PPP loan application, on behalf ofthe business in the name Nestor

Tezna, in which TEZNA made all ofthe following materially false and fraudulent

representations:

             a. TEZNA falsely claimed that the business in the name of Nestor Tezna was a sole

                proprietorship with average monthly payroll expenses of at least $69,186.

                TEZNA knew that this was false, and that in truth and fact, the business in the

                name of Nestor Tezna did not exist and,therefore, had no regular monthly payroll

                expenses.


             b. TEZNA falsely certified that "[a]11 SBA loan proceeds will be used only for

                business-related purposes as specified in the loan application and consistent with

                the Paycheck Protection Program Rule." TEZNA knew that this was false, and

                that he intended to use the PPP loan proceeds for unauthorized purposes,

                including paying off personally incurred debt and to pay for day-to-day living

                expenses.


             c. TEZNA falsely certified that the business "was in operation on February 15, 2020

                and had employees for whom it paid salaries and payroll taxes or paid

                independent contractors, as reported on Form(s) 1099-MISC." TEZNA knew that



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                this was false, and that in truth and fact, the business in the name of Nestor Tezna

                did not exist and did not have employees for which it paid salaries and payroll

                taxes.


             d. TEZNA falsely certified that"the funds will be used to retain workers and

                maintain payroll or make mortgage payments, lease payments, and utility

                payments; as specified under the Paycheck Protection Program Rule." TEZNA

                knew that this was false, and that he intended to use the PPP loan proceeds for

                unauthorized purposes.

             e. TEZNA falsely attested and certified that "the information provided in [the]

                application and the information provided in all supporting documents and forms is

                true and accurate in all material respects." TEZNA knew that this was false as he

                had made numerous false statements in the PPP loan application, supporting

                documentation, and forms.

       26.      As a part ofthe fraudulent loan application on behalf ofthe business in the name

of Nestor Tenza,TEZNA submitted and caused to be submitted to Celtic Bank a purported 2019

Form 1040 Schedule C, Profit or Loss from Business("Schedule C") which listed Nestor Tezna

as the proprietor. No business name was listed on the form. This purported 2019 Schedule C

listed "Gross receipts" of$830,240 and "Total expenses" of $9,493. The document was a

fabrication; the sole Schedule C attached to TEZNA's personal tax return. Form 1040, submitted

to the Internal Revenue Service did not match the Schedule C submitted to Celtic Bank.

       27.      As a result ofthe misrepresentations on the Nestor Tezna PPP loan application, on

or about June 4,2020, Celtic Bank disbursed $172,966 in PPP loan proceeds to a bank account

that TEZNA had signature authority and managed.



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       28.      TEZNA did not use the PPP loan proceeds for their intended purposes. Instead, it

was further part ofthe scheme that once TEZNA received the PPP loan proceeds, he knowingly

spent the proceeds on numerous items that he knew were not authorized under the. Among other

things, TEZNA knowingly spent and caused to be spent the PPP loan proceeds for the following

unauthorized expenses:

             a. to pay off over $140,000.00 of existing and newly incurred personal credit card

                debt;

             b. to make a $6,450.00 payment to a dog breeder;

             c. to pay $4,992.81 towards a down payment for Land Rover SUV;

             d. to make a $7,200.00 payment for home improvements; and

             e. to make $2,500.00 in payments to Disney Vacation Club for dues and loan

                payments.

                                  *      *       *      *       *




       B.       EIDL Program Conduct

       29.      Further, on or about May 20,2020, in the Eastern District of Virginia and

elsewhere, TEZNA submitted and caused to be submitted a fraudulent Andalasia Designs EIDL

application, in the name of T.T., to the SBA seeking $63,000. Among other things, on the

application TEZNA submitted and caused to be submitted, TEZNA claimed that Andalasia

Design earned $157,000 in the prior twelve months. TEZNA then and there knew that Andalasia

Design earned far less than the $157,000 claimed on the EIDL Application. The SBA rejected

the application and did not fund the requested EIDL advance or loan.

       30.       On or about June 29, 2020, in the Eastern District of Virginia and elsewhere,

TEZNA submitted and caused to be submitted a second fraudulent Andalasia Designs EIDL


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application, in the name of T.T., to the SBA seeking $6,500. Among other things, on the

application TEZNA submitted and caused to be submitted, TEZNA claimed that Andalasia

Designs earned $35,000 in the prior twelve months. TEZNA then and there knew that Andalasia

Design earned far less than $35,000 claimed on the EIDL Application. The SBA rejected the

application and did not fund the requested EIDL advance or loan.

       C.       Unemployment Fraud

       31.      On or about May 4,2020, in the Eastern District of Virginia and elsewhere,

TEZNA,in the name of B.I., submitted and caused to be submitted a fraudulent application to

the VEC seeking UI and PUA benefits. The VEC application required that an applicant enter,

among other things, his or her social security number and date of birth. On the instant

application, TEZNA listed B.I.'s social security number and date of birth, and then submitted the

application online without B.I.'s knowledge or consent. To conceal the fraud, TEZNA listed his

phone number and email address instead of B.I.'s contact information. During the submission

process, TEZNA certified the information presented in the application was true when he knew it

was not.


       32.       On the application, TEZNA knowingly made and caused to be made numerous

materially false and fraudulent representations to the VEC. Among other things, TEZNA

submitted and caused to be submitted the application, on behalf of B.I., in which TEZNA made

all ofthe following materially false and fraudulent representations:

             a. TEZNA falsely claimed that B.I. was a self-employed nanny that was actively

                looking for work, and that B.I. was willing to accept any position offered by a

                potential employer. TEZNA knew B.I. was neither self-employed nor looking for

                employment as a nanny or in any other type of position.



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        b. TEZNA falsely claimed B.I. earned $2,000.00 per month as a self-employed

           nanny, that she has been a self-employed nanny since November 17, 2017, and

           that she was laid off on March 3,2020. TEZNA knew this was false because

           TEZNA knew B.l. had no consistent employment since 2016 and was not laid off

           from any employer in 2020 or at any other time in the past three years.

        c. TEZNA falsely claimed that B.l. was separated from employment and entitled to

           PUA benefits because B.l.'s employment was affected by the COVlD-19

           pandemic in the following ways:

                i. B.l."...is unable to reach the place of employment because of a

                   quarantine imposed as a direct result ofthe COVlD-19 public health

                   emergency."

               ii. B.l."...is unable to reach the place of employment because the [she] has

                   been advised by a health care provider to self-quarantine due to concerns

                   related to COVlD-19."


              iii. B.l.'s "...place ofemployment is closed as a direct result ofthe COVID-

                   19 public health emergency."

           TEZNA knew these statements were false because B.l. was never a self-employed

           nanny and did not seek employment outside TEZNA's home and her employment

           status was unaffected by any COVID-19 pandemic restrictions.

        d. TEZNA falsely attested and certified that "all of the information 1 have given on

           this application is correct..." and "1 understand that Federal funds are provided

           and that the law provides for fines and imprisonment or both in addition to

           disqualification of benefits if 1 knowingly fail to disclose or give false information



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                   in order to obtain or increase PUA benefits to which I am not entitled." TEZNA

                   knew that this certification was false as he had made numerous false statements in

                   the PUA application.

          33.       From approximately May 4,2020 until about October 19,2020 the VEC

disbursed 21 payments in the cumulative amount of$15,950.00 to a bank account for which

TEZNA had signature authority and managed. In order to continue receiving payments, TEZNA

filed weekly additional claims, and continued to perpetrate this fraud until at least in or around

October 2020. After comingling the funds with the PPP loan fraud proceeds and with legitimate

funds, TEZNA used the unemployment benefits for his personal enrichment.

          D.       False Financial Disclosure


          34.      Due to his SES position, on or about June 23, 2020, in the Eastern District of

Virginia and elsewhere, TEZNA filed an Executive Branch Personnel Public Financial

Disclosure Report, OGE Form 278e with NASA. TEZNA electronically signed the form

claiming it was true, complete, and correct. This form was materially false in that TENZA

listed:


                a. "None" for the following three items:"4. Filer's Sources of Compensation

                   Exceeding $5,000 in a year,""6, Other Assets and Income," and "9. Gifts and

                   Travel Reimbursement." The OGE Form 278e was false in that TEZNA knew

                   that C.M., another NASA employee who TEZNA indirectly supervised, was

                   paying TEZNA approximately $1,900.00 biweekly since November 1, 2019, and,

                   as such, the funds received from C.M. should have been reported in the OGE

                   Form 278e as either compensation, other assets and income, or as a gift. TEZNA




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                  received at least $46,200.00 from C.M. between August 30,2019 and September

                  4,2020.

               b. The following information in "8. Liabilities":

 #        CREDITORS              TYPE OF             AMOUNT                 YEAR          INTEREST RATE
               NAME             LIABILITY                                INCURRED
 1     Bank of America       revolving          $15,001 -$50,000            2018                 9
 2     Navy Federal          revolving          $15,001 -$50,000            2019                 6
 3     USAA                  revolving          $10,001 -$15,000            2019                 6


This information was false in that TEZNA knew he had the following additional liabilities that

he should have reported on his OGE Form 278e:

                     i.   An approximate revolving liability of$16,000.00 pertaining to TEZNA's

                          credit card account with JP Morgan Chase.

                    ii.   An approximate revolving liability of$20,000.00 pertaining to T.T.'s

                          credit card account with JP Morgan Chase.

III.     Conclusion


         35.      This statement offacts includes those facts necessary to support the plea

agreement between TEZNA and the United States. It does not include each and every fact

known to the TEZNA or to the United States, and it is not intended to be a full enumeration of all

ofthe facts surrounding the defendant's case.




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       36.     The actions ofthe defendant, as recounted above, were in all respects knowing,

willful and deliberate, and were not committed by mistake, accident, or other innocent reason.


                                                       Raj Parekh
                                                       Acting United States Attorney




                                               By:
                                                        dmberly M. Shartar
                                                       Jamar K. Walker
                                                       Assistant United States Attomeys


       After consulting with my attomey and pursuant to the plea agreement entered into this

day between the defendant, ANDREW ALEXANDER TEZNA,and the United States, I hereby

stipulate that the above Statement of Facts is true and accurate, and that had the matter proceeded

to trial, the United States would have proved the same beyond a reasonable doubt.




                                      ANDREW ALEXANDER TEZNA



       I am defendant's attomey. I have carefully reviewed the above Statement of Facts with

him. To my knowledge, her decision to stipulate to these facts is an informed and voluntary one.




                                      Page Pate
                                      Attomey for ANDREW ALEXANDER TEZNA




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